Case 1:21-cv-00149-JRH-BKE Document 28-11 Filed 07/12/22 Page 1 of 14
EXHIBIT J




                           In The Matter Of:
                            Valencia Colon v.




                              Charlie Walker
                              May 10, 2022




                        Kellie K. Rodman, LLC
                       Certified Court Reporters
                             P. O. Box 500
                        Homer, Georgia 30547
                             678-614-8109




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                      Min-U-Script® with Word Index
     Case 1:21-cv-00149-JRH-BKE Document 28-11 Filed 07/12/22 Page 2 of 14
Valencia Colon v.                                                                                           Charlie Walker
                                                                                                             May 10, 2022
                                                                                                                     Page 3
 1                      IN RE: VALENCIA COLON
                                                               1           PROCEEDINGS
 2
                                                               2          CHARLIE WALKER INTERVIEW BY
 3                        ____________________
                                                               3            TONY WILLIAMSON
 4       The following is a transcript from a video and audio
                                                               4         GEORGIA BUREAU OF INVESTIGATION
 5   recording of an interview with Deputy C. Walker
                                                               5
 6   transcribed by Kellie A. Jones, CCR, CVR-M, B-1671,
                                                               6     Q. I'm Tony Williamson; Special Agent Georgia
 7   Certified Court Reporter.
                                                               7   Bureau of Investigation.
 8                                                             8     A. Yes, sir.
                             ______________
 9                                                             9     Q. And I just wanted to speak with you about
                        Kellie K. Rodman, LLC
10                    Certified Court Reporters               10   something that's come up. Here's the situation; I'm
                          krodmanccr@gmail.com
11                            678-614-8109                    11   gonna be straight up. Someone's made an allegation
12                                                            12   against you. Did you work a special Friday night?
13                                                            13     A. Yes, sir.
14                                                            14     Q. Before we get into that, I want you to
15                                                            15   understand --
16                                                            16     A. Yes, sir.
17                                                            17     Q. -- this is a criminal investigation.
18                                                            18     A. Whoa.
19                                                            19     Q. Okay. If you'll hear me out --
20                                                            20     A. Yes, sir, yes, sir, yes, sir.
21                                                            21     Q. This is a criminal investigation.
22                                                            22     A. Yes, sir.
23                                                            23     Q. We've been asked to come in by the Sheriff's
24                                                            24   office --
25                                                            25     A. Yes, sir. Yes, sir.

                                                     Page 2                                                          Page 4
 1                       Index to Transcripts
                                                            1         Q. -- which is not an uncommon situation.
 2
                                                            2         A. Yes, sir, yes, sir.
 3   Charlie Walker by Investigator
                                                            3         Q. Okay. You don't have to talk to me if you
 4        Willamson                                     03
                                                            4      don't want to.
 5
                                                            5         A. Yes, sir, yes, sir
 6                                                          6         Q. If you do decide to talk to me, you can stop
 7                                                          7      the interview any time.
 8                                                          8         A. Yes, sir.
 9                                                          9         Q. And you can leave at any time.
10                                                         10         A. Yes, sir.
11                                                         11         Q. Okay? You understand?
12                                                         12         A. Yes, sir, yes, sir, yes, sir. I can go on into
13                                                         13      --
14                                                         14         Q. Well, let's get started.
15                         TRANSCRIPT LEGEND               15         A. Yes, sir, yes, sir.
16   . . .(ellipsis)     Halting speech or an unfinished 16           Q. And just so you know, everything we're gonna be
17                     sentence in dialogue or an omission 17      talking about is recorded --
18                       when reading written material     18         A. Yes, sir, yes, sir.
19   --    (dashes)      Break in speech continuity        19         Q. I'm gonna make a few notes, but that's just for
20   (ph)                Spelled phonetically              20      me.
21   (sic)               In its original form              21         A. Yes, sir. Yes, sir.
22   (Inaudible)        Break in audio recording or cross- 22         Q. The truth is what you say --
23                       talk                              23         A. Yes, sir.
24                                                         24         Q. -- as far as what's said in this room, it comes
25                                                         25      from the video and the sound, you see what I'm saying?


Min-U-Script®                                   Kellie K. Rodman, LLC                                         (1) Pages 2 - 4
     Case 1:21-cv-00149-JRH-BKE Document 28-11 Filed 07/12/22 Page 3 of 14
Valencia Colon v.                                                                                               Charlie Walker
                                                                                                                 May 10, 2022
                                                        Page 5                                                           Page 7

 1    A.    Yes, sir. I see --                                    1     A. Yes, sir, yes, sir.
 2    Q.    And that's the only way I would want it.              2     Q. All right. Tell me about that night. What's
 3    A.    Yes, sir.                                             3   your first name?
 4    Q.    I would want the same.                                4     A. Charlie.
 5          And I'll be honest with you, I'll be straight         5     Q. Do you go by Charlie?
 6   up, a female made allegations against you -- you worked a    6     A. Yes, sir.
 7   special --                                                   7     Q. Charlie Walker?
 8     A. At Julian --                                            8     A. Yes, sir.
 9     Q. -- at Julian Smith Casino?                              9     Q. Can I call you Charlie?
10     A. Yes, sir.                                              10     A. Oh, yes, sir, yes, sir.
11     Q. And this female made an allegation that y'all          11     Q. You don't have to call me sir, either.
12   had sex.                                                    12     A. Oh, just a habit. (Inaudible)
13     A. Yes, sir. It was consensual sex, yes, sir.             13     Q. If you don't mind, just so I understand, when
14     Q. All right.                                             14   did your special start at Julian Smith Casino?
15     A. Yes, sir.                                              15     A. It was 7:00 to maybe a little after 12:00
16     Q. Let me say this and this female -- do you              16   maybe. Something like that.
17   remember her name?                                          17     Q. What was going on?
18     A. Last name was Colon. I have it in my phone.            18     A. It was a 25 Gents.
19     Q. Okay. Valencia Colon?                                  19     Q. And that's what?
20     A. As a matter of fact, Ms. Colon (shows his              20     A. Like an older gentleman's club, I guess. Like
21   phone).                                                     21   you know how they have like a biker club. Like they got
22     Q. C-o-l-o-n?                                             22   25 Gent. I guess just a bunch of old men and they have a
23     A. Yes, sir. Is that her phone number?                    23   party together.
24     Q. Yeah, let me see. Can I take a picture of your         24     Q. Men and women?
25   phone?                                                      25     A. Yes sir, yes sir.

                                                        Page 6                                                           Page 8

 1      A. Oh, yes, sir, yes, sir.                                1     Q. Did you know this woman, Ms. Colon?
 2      Q. Did she give you her number?                           2     A. No, ma'am. I mean no, sir, no, sir, no, sir.
 3      A. Yes, sir.                                              3     Q. You never seen her before?
 4      Q. Okay.                                                  4     A. That was my first time seeing her.
 5      A. I called -- I'll let you take a picture of             5     Q. All right. Tell me what happened.
 6   that.                                                        6     A. I was working a special. She probably came up
 7      Q. Go ahead.                                              7   to me about -- I can't give you an exact time. Maybe
 8      A. Let me see, let me see. These iPhones, they            8   10:00.
 9   don't hold like I think thirty calls and they start          9     Q. You said she came up to you?
10   deleting by itself. But let me see, let me see, let me      10     A. Yes, sir. She spoke saying something about her
11   see. Because I know she had called -- I called her and      11   friend got her there and she didn't want to be around old
12   she didn't have my number saved in her phone and she text   12   folks. It was something like that. You know, just a
13   back question mark. But I was with my -- my son and I       13   short conversation.
14   forgot to, you know, text back.                             14   So then towards the end, I went and sit in my car. Like
15      Q. Did she have your number?                             15   my car was parked like on the side of the building,
16      A. No, sir. When she gave me hers, I told her            16   backed in, and I was sitting just in the car waiting
17   I'll call her. And I called her -- when I got home, I       17   pretty much to go talk to the recreation worker to see
18   fell asleep, so the next morning I called her. It was       18   what time we could go. Because it was an old crowd. It
19   probably about 10:30-ish. I'm trying to see. What was       19   was shoulder to shoulder leaving out the building, so --
20   Friday's date, the -- the --                                20     Q. Let me back up here. She spoke to you?
21      Q. June 14.                                              21     A. Yes, sir.
22      A. Oh, man, she text -- I guess I deleted it or          22     Q. Around 10:00?
23   something, but she text back with a question mark. I was    23     A. Something around that.
24   gonna text who it was and then it slipped my mind.          24     Q. Can you tell me exactly what was said at that
25      Q. Okay.                                                 25   point?


Min-U-Script®                                     Kellie K. Rodman, LLC                                           (2) Pages 5 - 8
     Case 1:21-cv-00149-JRH-BKE Document 28-11 Filed 07/12/22 Page 4 of 14
Valencia Colon v.                                                                                              Charlie Walker
                                                                                                                May 10, 2022
                                                        Page 9                                                         Page 11

 1     A. You know, she -- she was like something about           1   casual conversation and went to the park.
 2   her friend got her a ticket and she was like, you know,      2     Q. Where were you at?
 3   going to the old folks and some stuff like that, some of     3     A. What was that park? Eisenhower.
 4   that and then something like that. So I laughed it off       4     Q. Eisenhower Park?
 5   and said, yes, ma'am; kept it, you know, professional.       5     A. Yes, sir and we talked and ...
 6   So then I was like -- did I see her again? The next time     6     Q. Let me ask you this.
 7   I seen her was at the end when I was sitting in my car       7     A. Yes, sir.
 8   and she was going to her car and she waved. You know, I      8     Q. So she was lost; is that right?
 9   waved back. So when I went inside to ask the                 9     A. Yes, sir, she said that --
10   recreational worker, Ms. Ann who was working at that        10     Q. So she followed you -- why did you go to
11   time, is it okay to leave, she said, yeah, you good, you    11   Eisenhower Park?
12   can leave. So I left. At that time I got behind a black     12     A. Because we kept talking. Kept --
13   SUV. At that time, I didn't know it was Ms. Colon. So -     13     Q. (Inaudible) So she followed you out to
14   -                                                           14   Eisenhower?
15     Q. So you left?                                           15     A. Yes, sir.
16     A. Yes, sir.                                              16     Q. Did y'all talk about going to that prior to you
17     Q. Your assignment was up?                                17   going there --
18     A. Yes, sir. Yes, sir.                                    18     A. On, no, we were just talking and then she -- we
19     Q. And do you remember roughly when that was?             19   was in a neighborhood. And she was like, you know --
20     A. It got to be 12:00 maybe. 12:00, something             20   pretty much we was talking and casual conversation and
21   after 12:00. Something like that.                           21   she was like she wasn't going home yet, so she kept
22     Q. Some time after midnight?                              22   talking to me, and I said let's go to the park. It
23     A. Yes, sir. Yes, sir.                                    23   wasn't nothing -- just casual conversation. It wasn't
24     Q. Okay. And you saw what? A black SUV?                   24   nothing forced or nothing like that. Nothing like that.
25     A. SUV, I think that's the color. A SUV, it was           25     Q. Okay. So she followed you to Eisenhower?

                                                       Page 10                                                         Page 12

 1   dark. I just know a dark color. So we --                     1     A. Yes, sir; yes, sir. And we talked. I got out
 2     Q. So you pulled out and you see a dark SUV?               2   my car; she got out her car. We talked for a few. She
 3     A. Yeah, she was (inaudible) and she was trying to         3   was talking about how her daughter was -- had been raped
 4   make a turn. Well, she couldn't, so I'm like, what are       4   in the military or something and she had to bring her
 5   they doing. So I followed along and she finally turned       5   back to stay with her because -- whatever -- because her
 6   into a neighborhood. And I pulled up alongside and said      6   daughter was gay or something and she got raped. It was
 7   are you okay. And that's when I realized it was --           7   something of that nature or something like that. So we
 8     Q. Ms. Colon?                                              8   kept talking and stuff like that; and then one thing led
 9     A. Yeah. (Indicating to piece of paper.)                   9   to another. It was all consensual; it was nothing forced
10     Q. Was she by herself?                                    10   or nothing like that. I mean --
11     A. Yes, sir, yes, sir, yes, sir.                          11     A. So y'all were talking -- and who decided -- or
12   And so then, you know, had -- we went to the park; had a    12   how did it end up -- how did y'all end up having sex? I
13   casual conversation; nothing forced or nothing like that.   13   mean what was -- you probably need to get very detailed.
14     Q. So let me ask you. When you pulled up beside           14     A. Yes, sir, yes, sir --
15   her --                                                      15     Q. Because --
16     A. Yes, sir.                                              16     A. Yes, sir, yes, sir, yes, sir, it was -- it was
17     Q. -- did you get out of your car?                        17   -- I won't show you show you, but it was like --
18     A. No, sir.                                               18     Q. When y'all were talking, were y'all standing
19     Q. You just --                                            19   outside the vehicle?
20     A. I just, you know --                                    20     A. Yes, sir, yes, sir, yes, sir. We were standing
21     Q. You rolled down your passenger window and was          21   and she was, you know, talking, talking like this; like
22   talking to her?                                             22   this; talking and talking and talking. And then, you
23     A. Yes, sir, yes, sir. And you know, it looked            23   know, finally I did like this, (demonstrating) leaned up
24   like she was lost. I was gonna lead her out the             24   against the vehicle and started talking and then, you
25   neighborhood and then we said -- got to talking and had a   25   know, it was (demonstrating) and then you know the sexual


Min-U-Script®                                      Kellie K. Rodman, LLC                                        (3) Pages 9 - 12
     Case 1:21-cv-00149-JRH-BKE Document 28-11 Filed 07/12/22 Page 5 of 14
Valencia Colon v.                                                                                                Charlie Walker
                                                                                                                  May 10, 2022
                                                      Page 13                                                            Page 15

 1   talk came about. It's been --                               1      A. Yes, sir, yes, sir, yes, sir.
 2     Q. Sit down and --                                        2      Q. So you had a condom?
 3     A. Yes, sir; yes, sir; yes, sir.                          3      A. Yes, sir.
 4     Q. If you need to stand up and show something,            4      Q. Where did you get the condom?
 5   that's fine --                                              5      A. It was in my wallet. I just keep -- it was --
 6     A. Yes, sir. Yes, sir.                                    6   it was from -- like when I -- in my wallet. I keep
 7     Q. When you say -- who initiated the sexual               7   condoms in my wallet, yes, sir.
 8   contact? What was up with that?                             8      Q. You pulled the condom out and put it on?
 9     A. She said that it's been a while or something           9      A. Yes, sir.
10   like that. Stuff like that. You know, I was --             10      Q. And how long did you have sex with her?
11     Q. Did she say sex?                                      11      A. Maybe five or ten minutes, if that long.
12     A. Yeah. I was just laughing and stuff like that.        12      Q. Did you ejaculate?
13   And then, you know, we got closer and it just went from    13      A. Yes, sir.
14   there.                                                     14      Q. What did you do with the condom?
15     Q. Talking about your body?                              15      A. I threw it in the trash.
16     A. Yes, sir.                                             16      Q. Where at?
17     Q. When you say you got closer, what did you do          17      A. Oh man. As a matter of fact, I went down -- I
18   when you got closer?                                       18   made sure she got home because she stays off of Essie
19     A. Hugging and kissing and stuff like that.              19   McIntyre. She turned at the light. I went to my mom's
20     Q. Did you kiss her on the mouth?                        20   house and I threw it in the trash can. I was going to my
21     A. On the neck. I didn't kiss her on the mouth,          21   mom's house anyway. She stays downtown on Bruce Street
22   no, sir.                                                   22   because she had -- I was gonna help her on account of a
23     Q. Okay. So after that, what happened?                   23   parking ticket. So I threw it in the trash can at my
24     A. And then --                                           24   mom's.
25     Q. (Inaudible)                                           25      Q. What about the wrapper?

                                                      Page 14                                                            Page 16

 1     A. Then she sat down.                                     1     A.   All of it.
 2     Q. Sat down where?                                        2     Q.   What did you put it in after you pulled it off
 3     A. In the driver's seat.                                  3   you?
 4     Q. Of?                                                    4     A.   A towel, a towel.
 5     A. Of her vehicle, yeah. And pulled her dress up          5     Q.   What did you do with the towel?
 6   a little bit and we went from there.                        6     A.   I just put everything in the trash.
 7     Q. So you -- did you walk up -- I guess when she          7          (Inaudible) I just -- no, sir, I did not force
 8   did that, did you walk up to her?                           8   this lady to do anything, no, sir. Wow. I don't know
 9     A. Yes, sir. Yes, sir. Yes, sir.                          9   because I didn't call her or whatnot. I don't know why
10     Q. Did she take -- did she take her underwear off?       10   she would say something like that I forced her to do
11     A. No, sir. She didn't have any.                         11   anything. You can plainly see she gave me her phone
12     Q. She wasn't wearing any?                               12   number. So, and if I --
13     A. No, sir. No, sir. No, sir.                            13     Q. She gave you her --
14     Q. Did you do (inaudible)                                14     A. Yes, sir; yes, sir; yes, sir.
15     A. No, sir. No, sir. No, sir.                            15     Q. Where does your mom live?
16     Q. So you're saying that she sits down -- were you       16     A. 1312 (inaudible) Bruce Street. That's my step
17   inside the car or outside the car?                         17   mom.
18     A. Outside the car. Outside the car.                     18     Q. 1312 Bruce?
19     Q. So her legs would have been --                        19     A. Yes, sir. (Inaudible)
20     A. Outside.                                              20     Q. Bruce, B-r-u-c-e?
21     Q. Out the driver's --                                   21     A. Yes, sir.
22     A. Yes, sir. Yes, sir.                                   22     Q. So after you had sex, what happened?
23     Q. And you got on top of her?                            23     A. She -- I showed her the easy way -- well, she
24     A. Well, in between (inaudible).                         24   followed me all the way home. I don't know exactly where
25     Q. Trying to lay her head on the console?                25   she stay at. She said she stays off Essie McIntyre, so I


Min-U-Script®                                     Kellie K. Rodman, LLC                                         (4) Pages 13 - 16
     Case 1:21-cv-00149-JRH-BKE Document 28-11 Filed 07/12/22 Page 6 of 14
Valencia Colon v.                                                                                               Charlie Walker
                                                                                                                 May 10, 2022
                                                       Page 17                                                          Page 19

 1   got to -- I got to the light at Essie and 15th Street and    1   know, conversational -- we were probably together
 2   she made a left. She said she was good; she said call        2   probably about between the neighborhood and the park,
 3   me. I said, yes, ma'am, sure will. I went on down 15th       3   probably about thirty minutes, forty-five at the most, if
 4   Street and made a left at the light on Martin Luther King    4   it was that, yes, sir. At the most -- I'd say at the
 5   and went to my mama house.                                   5   most, yes, sir, so I don't know.
 6     Q. She knew where she was then?                            6      Q. Did she ever tell you that she didn't want to
 7     A. Sir?                                                    7   have sex?
 8     Q. She knew where she was then and went on home            8      A. No, sir. No, sir. No, sir.
 9   you think?                                                   9      Q. So she never told you she didn't want to have
10     A. Yes, sir. That's where she said she live, yes,         10   sex?
11   sir. Yes, sir, off Essie McIntyre.                          11      A. No, sir. Wow.
12     Q. So she basically -- she followed you to where          12      Q. Did you ever tell her when y'all were -- got in
13   she --                                                      13   the car or after you left the Casino or Julian Smith that
14     A. Yes, sir, yes, sir, yes, sir.                          14   you could smell alcohol -- alcohol on her?
15     Q. But you said that -- did you ask for her phone         15      A. You're talking about when we left the park?
16   number or how did that play out?                            16      Q. Yeah.
17     A. She -- Matter-of-fact, honestly, we haven't            17      A. When we left the park --
18   even exchanged phone numbers. She gave me her phone         18      Q. No. When you left Julian Smith Casino and met
19   number after the sexual intercourse.                        19   up with her?
20     Q. Okay.                                                  20      A. Oh, no, sir, no, sir, no, sir.
21     A. Yes, sir, yes, sir, yes, sir.                          21      Q. You never told her you could smell alcohol?
22     Q. What was the reason for that?                          22      A. Oh, yeah, yeah. Yes, sir. When she -- when
23     A. She said -- she said -- I was like okay. And           23   she let down -- because when she let the window down, I
24   she said, you ain't gonna get my phone number. And I        24   was like, whoa, I smell a little alcohol on you, like
25   said, okay. So I went to the car and got my phone and       25   that. Something like that. So -- but throughout our

                                                       Page 18                                                          Page 20

 1   put her phone number in. That was it.                        1   conversation, it wasn't on her breath. I guess when she
 2     Q. Other than vaginal sex with her, did you touch          2   got in the car or whatever, she...
 3   her anywhere else?                                           3     Q. So when y'all left --
 4     A. On the breast while we was having ...                   4     A. Yes, sir.
 5     Q. Under her clothes or on top?                            5     Q. -- and you saw this vehicle --
 6     A. Oh, she had kind of like -- it was on top.              6     A. Yes, sir.
 7   They were (inaudible) -- they were out, but they weren't     7     Q. -- and you realized it was her, she rolled down
 8   -- (inaudible).                                              8   the window and you said you could smell alcohol? You
 9     Q. So her clothes and her breast?                          9   told her I can smell alcohol?
10     A. Yes, sir.                                              10     A. No, sir, no, sir, not that part, no, sir, no,
11     Q. Let me ask this question. Did the subject --           11   sir.
12   the fact that she had been drinking ever come up?           12     Q. Where was this happening? At the park?
13     A. Yes, sir. Yes, sir.                                    13     A. No, sir; before we got to the park. Like when
14     Q. Tell me about it.                                      14   we pulled up, she got out of the car.
15     A. I talked to her, I said, oh, you smell like --         15     Q. Okay.
16   you smell like you had alcohol on you. Something like       16     A. Yes, sir. I'm sorry; I'm sorry about that.
17   that. She said she was not drunk. And then I was like,      17   She did get out of the car when we was at the stop sign,
18   you know, you're not drunk, but I can tell you had a few    18   yes, sir.
19   drinks. I don't want to tell you a lecture or nothing       19     Q. Okay.
20   like that, no, sir, no, sir.                                20     A. Yes, sir. She did.
21     Q. So you could smell alcohol on her?                     21     Q. Okay.
22     A. At the beginning I would say. I guess --               22     A. That's when I told her, I can smell the
23     Q. When you first talked to her?                          23   alcohol, like that. You know, there wasn't nothing like
24     A. Yes, sir. It's kind of like, you know, she had         24   she was like sloppy or --
25   a drink or two, but when she was -- like we got, you        25     Q. Right.


Min-U-Script®                                      Kellie K. Rodman, LLC                                       (5) Pages 17 - 20
     Case 1:21-cv-00149-JRH-BKE Document 28-11 Filed 07/12/22 Page 7 of 14
Valencia Colon v.                                                                                               Charlie Walker
                                                                                                                 May 10, 2022
                                                       Page 21                                                          Page 23

 1     A. (Inaudible).                                            1     Q. Why would she say that?
 2     Q. But you said I can smell alcohol?                       2     A. Mr. Williams -- is that your name?
 3     A. Yes, sir. Yes, sir.                                     3     Q. Yeah, you can call me Tony.
 4     Q. What did she say?                                       4     A. Tony. Because I didn't call her, but I did.
 5     A. She laughed it off. Oh, I only had a drink or           5   And when she text me back, I didn't.
 6   two, like that. I said, okay. I said, how they made the      6     Q. So you think she said this about having sex or
 7   drink or whatnot, but it wasn't -- it wasn't no -- she       7   go to jail because you didn't call her?
 8   wasn't like -- can I stand up again?                         8     A. Yes, sir. I called her back -- I did not give
 9     Q. Let me ask you this. After that, you said the           9   her my number and if you go on the phone, she called
10   reason she followed you is y'all were gonna go somewhere    10   back. My number is 706-589-4004. And she text back like
11   where you could talk?                                       11   twenty minutes later, was like I guess a question mark
12     A. Yes, sir.                                              12   mean who this, but I didn't have a chance to get back to
13     Q. So you go to the park?                                 13   her -- to text her back because, you know, I was with --
14     A. Yes, sir.                                              14   oh, I was -- I was with my son with his worksheet. Where
15     Q. Eisenhower Park?                                       15   was I on Saturday. No. I was at West Georgia in
16     A. Yes, sir.                                              16   Carrollton, Georgia. I took my nephew to a showcase
17     Q. Did you ever bring up the fact again that you          17   basketball game. That's exactly where I was --
18   could smell alcohol?                                        18   (inaudible.) Yes, sir. Yeah, I was at West Georgia
19     A. No, sir, no, sir, no, sir.                             19   Saturday morning.
20     Q. And you tell me that the way you ended up              20     Q. So you texted her the next morning --
21   having sex was y'all basically came together and you        21     A. No, I didn't text. I called her.
22   kissed her on the neck and then --                          22     Q. You called?
23     A. (Inaudible). Kind of one thing --                      23     A. Yes, sir. Yes, sir.
24     Q. Just consensual --                                     24     Q. And she texted you back with a question mark?
25     A. Consensual, yes, sir, yes, sir.                        25     A. Yeah, like who's this. And I was at West

                                                       Page 22                                                          Page 24

 1     Q. She sat in her car --                                   1   Georgia at a camp with my nephew and I, you know --
 2     A. Driver side.                                            2     Q. Did you ever text her back?
 3     Q. I mean driver side. And she pulled her dress            3     A. No, sir, no, sir, no, sir. I didn't no, sir.
 4   up?                                                          4   Because it was Saturday ...
 5     A. Yes, sir. It wasn't no -- it wasn't no -- it            5     Q. What time did you call Saturday?
 6   wasn't no -- I don't know what she said.                     6     A. (Inaudible)
 7     Q. Let me just tell you this. What she's saying            7     Q. Is that your personal phone?
 8   is that she felt like if she didn't have sex with you,       8     A. Yes, sir. If she -- when I called her -- see
 9   she was gonna go to jail; she said that she told you no      9   what time it was. I picked my nephew up at 5:00. But
10   several times about having sex and that you kept -- every   10   yeah if you need to do a polygraph, sir, or whatever you
11   time that she said no, you would tell her, well, I can      11   need to do, we can go right ahead. And I promise you
12   smell alcohol on you. And she's saying in her -- she        12   there's a phone call from my number to her's.
13   took that to mean if I don't have sex with this deputy,     13     Q. So Saturday morning you called her?
14   I'm going to jail.                                          14     A. Yes, sir, yes, sir. It had to be about --
15     A. Wow. No, sir. We can go through a polygraph;           15   because we got -- it's like 10:30. We got there at
16   we can do whatever we need to do, sir.                      16   Carrollton, at West Georgia, we had to be there at 8:00
17     Q. You're telling me that didn't happen?                  17   and then once they got settled in and started doing their
18     A. No, sir. We can go -- we can go sit on the             18   thing on the court, I had went to the car and I called
19   polygraph right now, right now, sir. Right now, sir. I      19   her. She didn't answer and then a few minutes later, she
20   can promise you that it was never never --                  20   text back. But in the meantime I was caught up, you
21     Q. So it was nothing --                                   21   know, watching him doing that and I never did text her
22     A. It was nothing forced or nothing like going to         22   back.
23   jail.                                                       23     Q. She texted back just a question mark?
24     Q. Let me ask you this.                                   24     A. Yes, sir. Like, I guess just saying --
25     A. Yes, sir.                                              25     Q. You never called her?


Min-U-Script®                                      Kellie K. Rodman, LLC                                       (6) Pages 21 - 24
     Case 1:21-cv-00149-JRH-BKE Document 28-11 Filed 07/12/22 Page 8 of 14
Valencia Colon v.                                                                                                  Charlie Walker
                                                                                                                    May 10, 2022
                                                         Page 25                                                           Page 27

 1     A. No, sir, no, sir, I never called her. I was               1   and I'm like, you know, this is what -- but as far as
 2   going here and all that, but it wasn't nothing like that.      2   somebody or tell somebody that --
 3   Wow.                                                           3     Q. The only thing I could tell you is -- and I'm
 4     Q. One thing I need to ask. When you had sex with            4   not saying you're not, you make sure you tell the truth -
 5   her, did you take your pants off or how did you have sex       5   -
 6   with her?                                                      6     A. Yes, sir, yes, sir.
 7     A. No, sir, I just -- undo the zipper, yes, sir.             7     Q. -- everything --
 8     Q. You pulled your penis out?                                8     A. Yes, sir. Yes, sir, yes, sir.
 9     A. Yes, sir.                                                 9     Q. -- about everything --
10     Q. Okay.                                                    10     A. Everything. Everything. Everything. If I can
11     A. I took my duty belt off.                                 11   think of anything else -- I didn't think -- I honestly
12     Q. You took your duty belt off?                             12   didn't even know why I was coming back here. That was the
13     A. Yes, sir.                                                13   farthest thing on my mind to say somebody -- I told
14     Q. And you were dressed like you are right now?             14   somebody they was gonna go to jail if they didn't have
15     A. Yes, sir.                                                15   sex with me.
16     Q. Let me ask you another question. I understand            16      Q. Well, not the fact that you will go to jail;
17   you have computers in your car that will track you?           17   that was never the accusation. And I'll tell you what
18     A. Yes, sir.                                                18   her allegation was. She believed that if she did not --
19     Q. Was your computer on or off?                             19   if she didn't have sex with you, you were gonna take her
20     A. Mine were -- I can't remember because I was              20   to jail because she had been drinking and driving. Even
21   charging my phone.                                            21   though you said -- she never said -- she never said you
22     Q. Is the computer like a CAD?                              22   actually said if you don't have sex with me, I'm gonna
23     A. Yes, sir, yes, sir. Mobile system.                       23   take you to jail. She just said you mentioned that I
24     Q. So you think it was off or you don't remember?           24   smell alcohol.
25     A. I can't remember because I always charge my              25      A. Oh, no, sir.

                                                         Page 26                                                           Page 28

 1   phone.                                                         1     Q. And she didn't wanna have sex -- and she kept
 2      Q. But you don't remember?                                  2   saying no and she said she didn't want to go to jail;
 3      A. Yes, sir; yes, sir. I'm trying to think. Was             3   that's what she said.
 4   it -- I know that's what I was doing when I was in the         4     A. She called -- Can I ask a question?
 5   car, I was on the computer going through emails and            5     Q. Yes, absolutely; you can ask me anything.
 6   stuff. Wow, this is crazy. I've never been ...                 6     A. When is it that she called this in? Was it
 7      Q. Was there any -- after you left your special,            7   Monday or something or Tuesday?
 8   did you have any radio traffic --                              8     Q. Well, she reported it on Tuesday, last night.
 9      A. No, sir, no, sir.                                        9     A. And I forced her to do something. (Inaudible)
10      Q. On the radio?                                           10     Q. Understand?
11      A. No, sir. Oh, man, this not gonna cost me my             11     A. Yes, sir. Yes, sir.
12   job or nothing like that?                                     12           (Inaudible because of cross-talk)
13      Q. We're not here for that. I'm here for the               13     Q. She reported it Tuesday night.
14   criminal investigation. You understand?                       14     A. Yes, sir.
15      A. Yes, sir.                                               15     Q. Let me ask you this.
16      Q. This has nothing to do with your job.                   16     A. Yes, sir.
17      A. Yes, sir.                                               17     Q. At Eisenhower Park, were you at the canal
18      Q. That's the Sheriff's office.                            18   entrance or the front lot by the ballfields?
19      A. Yes, sir.                                               19     A. By the ballfields. By the ballfields, by the
20      Q. Like I told you at the beginning of the                 20   ballfields. It was nothing -- like we can hook up right
21   interview, we're only here for to see if any of the laws      21   now, sir, to a polygraph.
22   of the State of Georgia were violated.                        22     Q. Hook up? What do you mean?
23      A. Yes, sir, yes, sir. Mr. Tony, I can absolutely          23     A. To the polygraph.
24   -- only thing I say I'm guilty of is having sex in a          24     Q. Oh, (Inaudible).
25   public place. I will be guilty of that and (inaudible)        25     A. Yes, sir. Sorry about that. The only thing


Min-U-Script®                                        Kellie K. Rodman, LLC                                        (7) Pages 25 - 28
     Case 1:21-cv-00149-JRH-BKE Document 28-11 Filed 07/12/22 Page 9 of 14
Valencia Colon v.                                                                                              Charlie Walker
                                                                                                                May 10, 2022
                                                       Page 29                                                         Page 31

 1   was bothering me, like if you -- say I didn't -- or you      1   (Investigator returns)
 2   thought I didn't call you, you -- I guess you gave me        2     Q. Sorry about that.
 3   time to call you and you felt like because I didn't call     3     A. That's okay.
 4   you because, you know, I'm a police officer, I'm gonna       4     Q. I want to clear something up. When -- after
 5   say you told me to have sex or go to jail.                   5   you guys had sex, how did you get her number? I mean
 6      Q. Well, that's what she inferred --                      6   what was the conversation?
 7      A. Yes, sir -- that's --                                  7     A. She pretty much -- she got back in the car and
 8      Q. That that's what was said about --                     8   she said, you gonna call me and I said, yes, ma'am. And
 9      A. Yes, sir.                                              9   she said, you don't even have my number. And I said, oh,
10      Q. -- about smelling like alcohol.                       10   hold on, let me go get my phone.
11      A. Yes, sir, because after the alcohol that was --       11     Q. So you went and got your phone?
12      Q. That was when y'all first pulled away from            12     A. Yes, sir, out of the car.
13   Julian Smith --                                             13     Q. Okay. How were you parked in relation to her
14      A. Yes, sir. Because I didn't say anything else          14   vehicle? Were y'all at an angle or you want to draw it?
15   about it. I don't remember saying anything else about no    15     A. (Drawing) This was her car and my car like
16   alcohol after that -- that first initial -- like there      16   that.
17   wasn't -- because I told her, I said, you're not drunk.     17     Q. So you were in front of her?
18   I just smell it. You know, because if you go to a bar or    18     A. Yes, sir, yes, sir.
19   restaurant and you drink beer or alcohol, of course you     19     Q. Another thing, I'm gonna be straight up.
20   gonna smell it; that doesn't mean you drunk and you can't   20     A. Yes, sir.
21   drive or anything like that. But, yes, sir, it wasn't --    21     Q. The condom thing --
22   it -- no, sir. I wouldn't -- I wouldn't never do            22     A. Yes, sir.
23   anything like that, especially -- it was -- Mr. Tony,       23     Q. All right. I'm just saying -- I don't think I
24   this is my word, I'm telling you. The reason why she did    24   would want to take a condom and wrap up in a towel with a
25   this because she felt like I didn't call her. But if you    25   wrapper to my mom's trash can.

                                                       Page 30                                                         Page 32

 1   get her phone records and look at her text 589-4004, 706,    1     A. Yes, sir. Yes, sir. I see --
 2   is in her phone. I can promise you.                          2     Q. I'm just being honest with you.
 3     Q. Let me ask you this, too. Has this ever                 3     A. Yes, sir.
 4   happened before?                                             4     Q. If that had happened, tell me --
 5     A. No, sir, no, sir, no, sir.                              5     A. Yes, sir. Not on the inside -- not on the
 6     Q. You picked up a woman and --                            6   inside of the house. The trash can on the outside.
 7     A. No, sir.                                                7     Q. Talking about where you put --
 8     Q. In uniform and --                                       8     A. Yes, sir, yes, sir.
 9     A. No, sir. The only one I ever picked up in               9             (Inaudible due to cross-talk)
10   uniform --                                                  10     Q. When do they come get the trash?
11     Q. So this is the first one?                              11     A. What's today? Wednesday. I think they come on
12     A. -- going to jail --                                    12   Mondays or Tuesdays, yes, sir. Yes, sir, yes, sir.
13     Q. This is the first situation where you had sex          13     Q. That's where you slept that night?
14   with someone like that --                                   14     A. No, I went back home.
15     A. Yes, sir.                                              15     Q. But you went by there that night?
16     Q. -- in uniform?                                         16     A. Yes, sir, because she had got a letter in the
17     A. Yes, sir. You know, I won't say at home --             17   mail from another county about a parking ticket.
18     Q. Well --                                                18   Apparently my niece had got a parking ticket in her
19     A. (Inaudible)                                            19   vehicle and didn't say nothing, so she told me to come
20     Q. (Inaudible)                                            20   by and look at it to see what it was. It was a parking
21     A. Never, never, no, sir.                                 21   ticket, and they issued a warrant because she missed the
22     Q. Can you hang on a second?                              22   court date. If she didn't go to court by July 3, they
23     A. Yes, sir.                                              23   would issue a bench warrant. So I called Monday morning
24   (Pause where the investigator has stepped out; video is     24   and the lady said as long as she has a handicap sticker
25   still playing)                                              25   in her name -- that was the parking ticket. And I was


Min-U-Script®                                      Kellie K. Rodman, LLC                                       (8) Pages 29 - 32
     Case 1:21-cv-00149-JRH-BKE Document 28-11 Filed 07/12/22 Page 10 of 14
Valencia Colon v.                                                                                                 Charlie Walker
                                                                                                                   May 10, 2022
                                                       Page 33                                                           Page 35
                                                                  1
 1   gonna -- as a matter of fact, I was gonna take it up         2                        C E R T I F I C A T E
 2   there today.                                                 3   STATE OF GEORGIA       )
 3      Q. Let me ask, I mean this is kind of -- this is          4   COUNTY OF BANKS        )
 4   kind of weird, so when you -- at what point did you put      5
 5   the condom on?                                               6        I hereby certify that the foregoing is a transcript
 6      A. Before we started.                                     7   of an audio and video recording of an interview of Deputy
 7      Q. What was she doing when you put the condom on?         8   C. Walker.   This recording was transcribed to the best of
 8      A. She had sat down on the driver seat and pulled         9   my ability and I further certify that I was not present
 9   her dress up.                                               10   at this interview.         These are my best effort at
10      Q. Did she ask if you had a condom?
                                                                 11   transcribing the recordings.     Cross-talk and inaudible
11      A. Oh, I just always -- it was in my wallet. It
                                                                 12   utterances that were not able to be understood are
12   was in my wallet. I can't remember if she did.
                                                                 13   indicated.
13      Q. So you pull the condom out and she's like
                                                                 14        This 1st day of May 2022.
14   sitting there ready?
                                                                 15
15      A. Yes, sir, yes, sir.
                                                                 16
16      Q. So to speak?
                                                                 17
17      A. Yes, sir.
18      Q. What did you do with the wrapper after you put        18
19   it on?                                                      19
20      A. It was in my pocket; I put it in my pocket.           20                              ________________________________

21      Q. After you had sex, when did you pull the condom       21                                 Kellie A. Jones, CCR, CVR-M

22   off?                                                        22                                 Certified Court Reporter
23      A. After we -- when I got finished and I threw it        23                                 No. B-1671
24   on the ground and I picked it up with -- I went and got a   24
25   towel and I picked it up.                                   25


                                                       Page 34

 1     Q. From your vehicle?
 2     A. Yes, sir. Yes, sir. Yes, sir. And then when
 3   I got to my mom's house, trash can -- threw it in the
 4   trash can and went in the house.
 5     Q. Along with the wrapper?
 6     A. Yes, sir.
 7     Q. Here's what I would like, if you will.
 8     A. Yes, sir.
 9     Q. You mind riding one day and show me the area
10   where this happened?
11     A. Yes, sir.
12     Q. Just stand by.
13   (Investigator leaves; after about a minute the deputy
14   leaves.)
15
16
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Min-U-Script®                                      Kellie K. Rodman, LLC                                         (9) Pages 33 - 35
          Case 1:21-cv-00149-JRH-BKE Document 28-11 Filed 07/12/22 Page 11 of 14
Valencia Colon v.                                                                                                 Charlie Walker
                                                                                                                   May 10, 2022

                           28:18,19,19,20              24:1                     console (1)                25:14
           A             bar (1)                    can (34)                      14:25                  drink (4)
                           29:18                       4:6,9,12;5:24;7:9;       contact (1)                18:25;21:5,7;29:19
absolutely (2)           basically   (2)               8:24;9:12;15:20,23;        13:8                   drinking (2)
   26:23;28:5              17:12;21:21                 16:11;18:18;20:9,22;     conversation (7)           18:12;27:20
account (1)              basketball (1)                21:2,8;22:11,15,16,18,     8:13;10:13;11:1,20,    drinks (1)
   15:22                   23:17                       18,20;23:3;24:11;          23;20:1;31:6             18:19
accusation (1)           beer  (1)                     26:23;27:10;28:4,5,20;   conversational (1)       drive (1)
   27:17                   29:19                       30:2,22;31:25;32:6;        19:1                     29:21
actually (1)             beginning (2)                 34:3,4                   cost (1)                 Driver (3)
   27:22                   18:22;26:20              canal (1)                     26:11                    22:2,3;33:8
again (3)                behind (1)                    28:17                    county (1)               driver's (2)
   9:6;21:8,17             9:12                     car (25)                      32:17                    14:3,21
against (3)              belt (2)                      8:14,15,16;9:7,8;        course (1)               driving (1)
   3:12;5:6;12:24          25:11,12                    10:17;12:2,2;14:17,17,     29:19                    27:20
Agent (1)                bench (1)                     18,18;17:25;19:13;       court (3)                drunk (4)
   3:6                     32:23                       20:2,14,17;22:1;24:18;     24:18;32:22,22           18:17,18;29:17,20
ahead (2)                beside   (1)                  25:17;26:5;31:7,12,15,   crazy (1)                due (1)
   6:7;24:11               10:14                       15                         26:6                     32:9
ain't (1)                biker (1)                  Carrollton (2)              criminal (3)             duty (2)
   17:24                   7:21                        23:16;24:16                3:17,21;26:14            25:11,12
alcohol (17)             bit (1)                    Casino (4)                  cross-talk (2)
   18:16,21;19:14,14,      14:6                        5:9;7:14;19:13,18          28:12;32:9                        E
   21,24;20:8,9,23;21:2, black   (2)                casual (4)                  crowd (1)
   18;22:12;27:24;29:10,   9:12,24                     10:13;11:1,20,23           8:18                   easy (1)
   11,16,19              body (1)                   caught (1)                                              16:23
allegation (3)             13:15                       24:20                               D             Eisenhower (7)
   3:11;5:11;27:18       bothering     (1)          chance (1)                                              11:3,4,11,14,25;
allegations (1)            29:1                        23:12                    dark (3)                    21:15;28:17
   5:6                   breast (2)                 charge (1)                    10:1,1,2               either (1)
along (2)                  18:4,9                      25:25                    date (2)                    7:11
   10:5;34:5             breath (1)                 charging (1)                  6:20;32:22             ejaculate (1)
alongside (1)              20:1                        25:21                    daughter (2)                15:12
   10:6                  bring   (2)                CHARLIE (5)                   12:3,6                 else (4)
always (2)                 12:4;21:17                  3:2;7:4,5,7,9            day (1)                     18:3;27:11;29:14,15
   25:25;33:11           Bruce (4)                  clear (1)                     34:9                   emails (1)
angle (1)                  15:21;16:16,18,20           31:4                     decide (1)                  26:5
   31:14                 B-r-u-c-e    (1)           closer (3)                    4:6                    end (4)
Ann (1)                    16:20                       13:13,17,18              decided (1)                 8:14;9:7;12:12,12
   9:10                  building (2)               clothes (2)                   12:11                  ended (1)
Apparently (1)             8:15,19                     18:5,9                   deleted (1)                 21:20
   32:18                 bunch    (1)               club (2)                      6:22                   entrance (1)
area (1)                   7:22                        7:20,21                  deleting (1)                28:18
   34:9                  BUREAU (2)                 Colon (6)                     6:10                   especially (1)
around (3)                 3:4,7                       5:18,19,20;8:1;9:13;     demonstrating (2)           29:23
   8:11,22,23                                          10:8                       12:23,25               Essie (4)
asleep (1)                              C           C-o-l-o-n (1)               deputy (2)                  15:18;16:25;17:1,11
   6:18                                                5:22                       22:13;34:13            even (4)
assignment (1)           CAD (1)                    color (2)                   detailed (1)                17:18;27:12,20;31:9
   9:17                    25:22                       9:25;10:1                  12:13                  exact (1)
away (1)                 call (15)                  coming (1)                  down (11)                   8:7
   29:12                   6:17;7:9,11;16:9;           27:12                      10:21;13:2;14:1,2,     exactly (3)
                           17:2;23:3,4,7;24:5,12;   computer (3)                  16;15:17;17:3;19:23,      8:24;16:24;23:17
            B              29:2,3,3,25;31:8            25:19,22;26:5              23;20:7;33:8           exchanged (1)
                         called (17)                computers (1)               downtown (1)                17:18
back (20)                  6:5,11,11,17,18;23:8,       25:17                      15:21
   6:13,14,23;8:20;9:9;    9,21,22;24:8,13,18,25;   condom (11)                 draw (1)                            F
   12:5;23:5,8,10,10,12,   25:1;28:4,6;32:23           15:2,4,8,14;31:21,         31:14
   13,24;24:2,20,22,23;  calls (1)                     24;33:5,7,10,13,21       Drawing (1)              fact (6)
   27:12;31:7;32:14        6:9                      condoms (1)                   31:15                    5:20;15:17;18:12;
backed (1)               came (4)                      15:7                     dress (3)                  21:17;27:16;33:1
   8:16                    8:6,9;13:1;21:21         consensual (4)                14:5;22:3;33:9         far (2)
ballfields (4)           camp (1)                      5:13;12:9;21:24,25       dressed (1)                4:24;27:1

Min-U-Script®                                       Kellie K. Rodman, LLC                                      (1) absolutely - far
          Case 1:21-cv-00149-JRH-BKE Document 28-11 Filed 07/12/22 Page 12 of 14
Valencia Colon v.                                                                                              Charlie Walker
                                                                                                                May 10, 2022

farthest (1)              gonna (19)                                         kiss (2)                  Luther (1)
   27:13                    3:11;4:16,19;6:24;                I                 13:20,21                 17:4
fell (1)                    10:24;15:22;17:24;                               kissed (1)
   6:18                     21:10;22:9;26:11;      Inaudible (22)               21:22                               M
felt (3)                    27:14,19,22;29:4,20;      7:12;10:3;11:13;       kissing (1)
   22:8;29:3,25             31:8,19;33:1,1            13:25;14:14,24;16:7,      13:19                  ma'am (4)
female (3)                good (2)                    16,19;18:7,8;21:1,23;  knew     (2)                8:2;9:5;17:3;31:8
   5:6,11,16                9:11;17:2                 23:18;24:6;26:25;28:9,    17:6,8                 mail (1)
few (4)                   ground (1)                  12,24;30:19,20;32:9                                32:17
   4:19;12:2;18:18;         33:24                  Indicating (1)                            L         mama (1)
   24:19                  guess (9)                   10:9                                               17:5
finally (2)                 6:22;7:20,22;14:7;     inferred (1)              lady (2)                  man (3)
   10:5;12:23               18:22;20:1;23:11;         29:6                      16:8;32:24               6:22;15:17;26:11
fine (1)                    24:24;29:2             initial (1)               Last    (2)               mark (5)
   13:5                   guilty (2)                  29:16                     5:18;28:8                6:13,23;23:11,24;
finished (1)                26:24,25               initiated (1)             later (2)                   24:23
   33:23                  guys (1)                    13:7                      23:11;24:19            Martin (1)
first (7)                   31:5                   inside (4)                laughed      (2)            17:4
   7:3;8:4;18:23;29:12,                               9:9;14:17;32:5,6          9:4;21:5               matter (3)
   16;30:11,13                      H              intercourse (1)           laughing (1)                5:20;15:17;33:1
five (1)                                              17:19                     13:12                  Matter-of-fact (1)
   15:11                  habit (1)                INTERVIEW (3)             laws (1)                    17:17
folks (2)                   7:12                      3:2;4:7;26:21             26:21                  maybe (5)
   8:12;9:3               handicap (1)             into (3)                  lay   (1)                   7:15,16;8:7;9:20;
followed (7)                32:24                     3:14;4:12;10:6            14:25                    15:11
   10:5;11:10,13,25;      hang (1)                 INVESTIGATION (5) lead (1)                          McIntyre (3)
   16:24;17:12;21:10        30:22                     3:4,7,17,21;26:14         10:24                    15:19;16:25;17:11
force (1)                 happen (1)               investigator (3)          leaned    (1)             mean (10)
   16:7                     22:17                     30:24;31:1;34:13          12:23                    8:2;12:10,13;22:3,
forced (6)                happened (6)             iPhones (1)               leave (3)                   13;23:12;28:22;29:20;
   10:13;11:24;12:9;        8:5;13:23;16:22;          6:8                       4:9;9:11,12              31:5;33:3
   16:10;22:22;28:9         30:4;32:4;34:10        issue (1)                 leaves (2)                meantime (1)
forgot (1)                happening (1)               32:23                     34:13,14                 24:20
   6:14                     20:12                  issued (1)                leaving     (1)           men (2)
forty-five (1)            head (1)                    32:21                     8:19                     7:22,24
   19:3                     14:25                                            lecture (1)               mentioned (1)
Friday (1)                hear (1)                              J               18:19                    27:23
   3:12                     3:19                                             led (1)                   met (1)
Friday's (1)              help (1)                 jail (11)                    12:8                     19:18
   6:20                     15:22                     22:9,14,23;23:7;       left (10)                 midnight (1)
friend (2)                Here's (2)                  27:14,16,20,23;28:2;      9:12,15;17:2,4;          9:22
   8:11;9:2                 3:10;34:7                 29:5;30:12                19:13,15,17,18;20:3;   military (1)
front (2)                 her's (1)                job (2)                      26:7                     12:4
   28:18;31:17              24:12                     26:12,16               legs (1)                  mind (4)
                          herself (1)              Julian (6)                   14:19                    6:24;7:13;27:13;
           G                10:10                     5:8,9;7:14;19:13,18;   letter (1)                  34:9
                          hold (2)                    29:13                     32:16                  Mine (1)
game (1)                    6:9;31:10              July (1)                  light   (3)                 25:20
  23:17                   home (7)                    32:22                     15:19;17:1,4           minute (1)
gave (5)                    6:17;11:21;15:18;      June (1)                  little (3)                  34:13
  6:16;16:11,13;17:18;      16:24;17:8;30:17;         6:21                      7:15;14:6;19:24        minutes (4)
  29:2                      32:14                                            live (2)                    15:11;19:3;23:11;
gay (1)                   honest (2)                           K                16:15;17:10              24:19
  12:6                      5:5;32:2                                         long (3)                  missed (1)
Gent (1)                  honestly (2)             keep (2)                     15:10,11;32:24           32:21
  7:22                      17:17;27:11               15:5,6                 look   (2)                Mobile (1)
gentleman's (1)           hook (2)                 kept (7)                     30:1;32:20               25:23
  7:20                      28:20,22                  9:5;11:12,12,21;       looked (1)                mom (2)
Gents (1)                 house (6)                   12:8;22:10;28:1           10:23                    16:15,17
  7:18                      15:20,21;17:5;32:6;    kind (5)                  lost (2)                  mom's (5)
GEORGIA (8)                 34:3,4                    18:6,24;21:23;33:3,4      10:24;11:8               15:19,21,24;31:25;
  3:4,6;23:15,16,18;      Hugging (1)              King (1)                  lot  (1)                    34:3
  24:1,16;26:22             13:19                     17:4                      28:18                  Monday (2)

Min-U-Script®                                      Kellie K. Rodman, LLC                                  (2) farthest - Monday
          Case 1:21-cv-00149-JRH-BKE Document 28-11 Filed 07/12/22 Page 13 of 14
Valencia Colon v.                                                                                                Charlie Walker
                                                                                                                  May 10, 2022

 28:7;32:23                12:8;21:23;25:4;           33:20,20                   34:9                      8:15;22:2,3
Mondays (1)                30:9,11;34:9             point (2)                 right (12)                sign (1)
 32:12                   only (7)                     8:25;33:4                  5:14;7:2;8:5;11:8;        20:17
morning (5)                5:2;21:5;26:21,24;       police (1)                   20:25;22:19,19,19;     sit (3)
 6:18;23:19,20;24:13;      27:3;28:25;30:9            29:4                       24:11;25:14;28:20;        8:14;13:2;22:18
 32:23                   out (18)                   polygraph (5)                31:23                  sits (1)
most (3)                   3:19;8:19;10:2,17,         22:15,19;24:10;         rolled (2)                   14:16
 19:3,4,5                  24;11:13;12:1,2;14:21;     28:21,23                   10:21;20:7             sitting (3)
mouth (2)                  15:8;17:16;18:7;20:14,   pretty (3)                room (1)                     8:16;9:7;33:14
 13:20,21                  17;25:8;30:24;31:12;       8:17;11:20;31:7            4:24                   situation (3)
much (3)                   33:13                    prior (1)                 roughly (1)                  3:10;4:1;30:13
 8:17;11:20;31:7         outside (6)                  11:16                      9:19                   slept (1)
                           12:19;14:17,18,18,       probably (6)                                           32:13
           N               20;32:6                    6:19;8:6;12:13;19:1,                S             slipped (1)
                                                      2,3                                                  6:24
name (5)                            P               professional (1)          same (1)                  sloppy (1)
  5:17,18;7:3;23:2;                                   9:5                        5:4                       20:24
  32:25                  pants (1)                  promise (3)               sat (4)                   smell (15)
nature (1)                 25:5                       22:20;24:11;30:2           14:1,2;22:1;33:8          18:15,16,21;19:14,
  12:7                   paper (1)                  public (1)                Saturday (5)                 21,24;20:8,9,22;21:2,
neck (2)                   10:9                       26:25                      23:15,19;24:4,5,13        18;22:12;27:24;29:18,
  13:21;21:22            park (14)                  pull (2)                  saved (1)                    20
need (6)                   10:12;11:1,3,4,11,         33:13,21                   6:12                   smelling (1)
  12:13;13:4;22:16;        22;19:2,15,17;20:12,     pulled (11)               saw (2)                      29:10
  24:10,11;25:4            13;21:13,15;28:17          10:2,6,14;14:5;15:8;       9:24;20:5              Smith (5)
neighborhood (4)         parked (2)                   16:2;20:14;22:3;25:8;   saying (10)                  5:9;7:14;19:13,18;
  10:6,25;11:19;19:2       8:15;31:13                 29:12;33:8                 4:25;8:10;14:16;          29:13
nephew (3)               parking (5)                put (9)                      22:7,12;24:24;27:4;    somebody (4)
  23:16;24:1,9             15:23;32:17,18,20,         15:8;16:2,6;18:1;          28:2;29:15;31:23          27:2,2,13,14
next (3)                   25                         32:7;33:4,7,18,20       seat (2)                  someone (1)
  6:18;9:6;23:20         part (1)                                                14:3;33:8                 30:14
niece (1)                  20:10                               R              second (1)                Someone's (1)
  32:18                  party (1)                                               30:22                     3:11
night (6)                  7:23                     radio (2)                 seeing (1)                somewhere (1)
  3:12;7:2;28:8,13;      passenger (1)                 26:8,10                   8:4                       21:10
  32:13,15                 10:21                    raped (2)                 settled (1)               son (2)
notes (1)                Pause (1)                     12:3,6                    24:17                     6:13;23:14
  4:19                     30:24                    ready (1)                 several (1)               sorry (4)
number (14)              penis (1)                     33:14                     22:10                     20:16,16;28:25;31:2
  5:23;6:2,12,15;          25:8                     realized (2)              sex (25)                  sound (1)
  16:12;17:16,19,24;     personal (1)                  10:7;20:7                 5:12,13;12:12;13:11;      4:25
  18:1;23:9,10;24:12;      24:7                     reason (3)                   15:10;16:22;18:2;19:7, speak (2)
  31:5,9                 phone (21)                    17:22;21:10;29:24         10;21:21;22:8,10,13;      3:9;33:16
numbers (1)                5:18,21,23,25;6:12;      recorded (1)                 23:6;25:4,5;26:24;     Special (6)
  17:18                    16:11;17:15,18,18,24,       4:17                      27:15,19,22;28:1;29:5;    3:6,12;5:7;7:14;8:6;
                           25;18:1;23:9;24:7,12;    records (1)                  30:13;31:5;33:21          26:7
            O              25:21;26:1;30:1,2;          30:1                   sexual (3)                spoke (2)
                           31:10,11                 recreation (1)               12:25;13:7;17:19          8:10,20
off (13)                 picked (5)                    8:17                   Sheriff's (2)             stand (3)
   9:4;14:10;15:18;        24:9;30:6,9;33:24,25     recreational (1)             3:23;26:18                13:4;21:8;34:12
   16:2,25;17:11;21:5;   picture (2)                   9:10                   short (1)                 standing (2)
  25:5,11,12,19,24;33:22   5:24;6:5                 relation (1)                 8:13                      12:18,20
office (2)               piece (1)                     31:13                  shoulder (2)              start (2)
   3:24;26:18              10:9                     remember (8)                 8:19,19                   6:9;7:14
officer (1)              place (1)                     5:17;9:19;25:20,24,    show (4)                  started (4)
   29:4                    26:25                       25;26:2;29:15;33:12       12:17,17;13:4;34:9        4:14;12:24;24:17;
old (4)                  plainly (1)                reported (2)              showcase (1)                 33:6
   7:22;8:11,18;9:3        16:11                       28:8,13                   23:16                  State (1)
older (1)                play (1)                   restaurant (1)            showed (1)                   26:22
   7:20                    17:16                       29:19                     16:23                  stay (2)
once (1)                 playing (1)                returns (1)               shows (1)                    12:5;16:25
   24:17                   30:25                       31:1                      5:20                   stays (3)
one (6)                  pocket (2)                 riding (1)                side (3)                     15:18,21;16:25

Min-U-Script®                                       Kellie K. Rodman, LLC                                    (3) Mondays - stays
          Case 1:21-cv-00149-JRH-BKE Document 28-11 Filed 07/12/22 Page 14 of 14
Valencia Colon v.                                                                                                   Charlie Walker
                                                                                                                     May 10, 2022

step (1)                     7:23;19:1;21:21            31:4,19,24;33:1,9,24,   women (1)
   16:16                  told (11)                     25                        7:24                                5
stepped (1)                  6:16;19:9,21;20:9,                                 word (1)
   30:24                     22;22:9;26:20;27:13;               V                 29:24                  5:00 (1)
sticker (1)                  29:5,17;32:19                                      work (1)                   24:9
   32:24                  TONY (6)                    vaginal (1)                 3:12                   589-4004 (1)
still (1)                    3:3,6;23:3,4;26:23;        18:2                    worked (1)                 30:1
   30:25                     29:23                    Valencia (1)                5:6
stop (2)                  took (4)                      5:19                    worker (2)                            7
   4:6;20:17                 22:13;23:16;25:11,       vehicle (7)                 8:17;9:10
straight (3)                 12                         12:19,24;14:5;20:5;     working (2)              7:00 (1)
   3:11;5:5;31:19         top (3)                       31:14;32:19;34:1          8:6;9:10                 7:15
Street (4)                   14:23;18:5,6             video (2)                 worksheet (1)            706 (1)
   15:21;16:16;17:1,4     touch (1)                     4:25;30:24                23:14                    30:1
stuff (6)                    18:2                     violated (1)              Wow (5)                  706-589-4004 (1)
   9:3;12:8;13:10,12,     towards (1)                   26:22                     16:8;19:11;22:15;        23:10
   19;26:6                   8:14                                                 25:3;26:6
subject (1)               towel (5)                             W               wrap (1)                              8
   18:11                     16:4,4,5;31:24;33:25                                 31:24
sure (3)                  track (1)                   waiting (1)               wrapper (4)              8:00 (1)
   15:18;17:3;27:4           25:17                      8:16                      15:25;31:25;33:18;       24:16
SUV (5)                   traffic (1)                 walk (2)                    34:5
   9:13,24,25,25;10:2        26:8                       14:7,8
system (1)                trash (9)                   WALKER (2)                             Y
   25:23                     15:15,20,23;16:6;          3:2;7:7
                             31:25;32:6,10;34:3,4     wallet (5)                y'all (12)
            T             truth (2)                     15:5,6,7;33:11,12         5:11;11:16;12:11,12,
                             4:22;27:4                wanna (1)                   18,18;19:12;20:3;
talk (6)                  trying (4)                    28:1                      21:10,21;29:12;31:14
   4:3,6;8:17;11:16;         6:19;10:3;14:25;         warrant (2)
   13:1;21:11                26:3                       32:21,23                             Z
talked (5)                Tuesday (3)                 watching (1)
   11:5;12:1,2;18:15,23      28:7,8,13                  24:21                   zipper (1)
talking (20)              Tuesdays (1)                waved (2)                    25:7
   4:17;10:22,25;11:12,      32:12                      9:8,9
   18,20,22;12:3,8,11,18, turn (1)                    way (4)                                1
   21,21,22,22,22,24;        10:4                       5:2;16:23,24;21:20
   13:15;19:15;32:7       turned (2)                  wearing (1)               10:00 (2)
telling (2)                  10:5;15:19                 14:12                     8:8,22
   22:17;29:24            twenty (1)                  Wednesday (1)             10:30 (1)
ten (1)                      23:11                      32:11                     24:15
   15:11                  two (2)                     weird (1)                 10:30-ish (1)
texted (3)                   18:25;21:6                 33:4                      6:19
   23:20,24;24:23                                     weren't (1)               12:00 (3)
thirty (2)                            U                 18:7                      9:20,20,21
   6:9;19:3                                           West (4)                  1312 (2)
though (1)                uncommon (1)                  23:15,18,25;24:16         16:16,18
   27:21                     4:1                      whatnot (2)               14 (1)
thought (1)               Under (1)                     16:9;21:7                 6:21
   29:2                      18:5                     what's (3)                15th (2)
threw (5)                 underwear (1)                 4:24;7:2;32:11            17:1,3
   15:15,20,23;33:23;        14:10                    Whoa (2)
   34:3                   undo (1)                      3:18;19:24                           2
throughout (1)               25:7                     who's (1)
   19:25                  uniform (3)                   23:25                   25 (2)
ticket (6)                   30:8,10,16               Williams (1)                7:18,22
   9:2;15:23;32:17,18,    up (37)                       23:2
   21,25                     3:10,11;5:6;8:6,9,20;    WILLIAMSON (2)                         3
times (1)                    9:17;10:6,14;12:12,12,     3:3,6
   22:10                     23;13:4,8;14:5,7,8;      window (3)                3 (1)
today (2)                    18:12;19:19;20:14;         10:21;19:23;20:8           32:22
   32:11;33:2                21:8,17,20;22:4;24:9,    woman (2)
together (3)                 20;28:20,22;30:6,9;        8:1;30:6

Min-U-Script®                                         Kellie K. Rodman, LLC                                          (4) step - 8:00
